                                                                               08/27/2024


     IN THE SUPREME COURT OF THE STATE OF MONTANA                          Case Number: DA 23-0180



                            No. DA 23-0180

STATE OF MONTANA,

           Plaintiff and Appellee,
     v.

DOUGLAS BAERTSCH,

           Defendant and Appellant.


                                ORDER


     Upon consideration of Appellant’s motion for extension of time,

and good cause appearing,

     IT IS HEREBY ORDERED that Appellant is granted an extension

of time to and including October 3, 2024, within which to prepare, file,

and serve Appellant’s opening brief on appeal.




                                                                Electronically signed by:
                                                                      Mike McGrath
                                                         Chief Justice, Montana Supreme Court
                                                                     August 27 2024
